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Leadership

Alan M. Lotvin, M.D.
Executive Vice President, Transformation, CVS Health


                                                Dr. Alan Lotvin is Executive Vice President of
                                                Transformation for CVS Health. In this role, Dr.
                                                Lotvin has oversight of the portfolio of business
                                                transformation initiatives across the enterprise with a
                                                focus on identifying opportunities for growth and
                                                innovation to create a new health care model that is
                                                easier to use, less expensive and puts consumers at
                                                the center of their care.

                                                Dr. Lotvin has extensive experience in the
                                                pharmaceutical benefit management and specialty
                                                pharmacy industries. Prior to his current role, he
                                                served as Executive Vice President of CVS
                                                Specialty, the specialty pharmacy of CVS Health,
                                                and before joining the company, Dr. Lotvin was
                                                President and Chief Executive Officer of ICORE
                                                Healthcare, a Magellan Health Services company.
                                                Previously, Dr. Lotvin held multiple roles at Medco
                                                Health Solutions, including President of Medco
                                                Specialty Pharmacy Services and Senior Vice
                                                President of Manufacturer Contracting.

                                                Dr. Lotvin began his career as a practicing
                                                cardiologist in New Jersey. He holds a master's
                                                degree in Medical Informatics from Columbia
                                                University and a Medical Degree from the State
                                                University of New York Health Sciences Center in
                                                Brooklyn. Dr. Lotvin also holds US Patent #6269819
                                                Method and Apparatus for Circulatory Valve Repair.
